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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

OLIVER LUCK                                      §
                                                 §
       Plaintiff                                 §
                                                 §
v.                                               §       CIVIL NO. 3:20-cv-516 (VAB)
                                                 §
VINCENT K. MCMAHON and                           §
ALPHA ENTERTAINMENT, LLC                         §
                                                 §       May 8, 2021
       Defendants.                               §

     PLAINTIFF OLIVER LUCK’S REPLY IN SUPPORT OF HIS REQUEST FOR
                    EXPEDITED BRIEFING SCHEDULE

To the Honorable District Judge Victor Bolden.

       Plaintiff Oliver Luck (“Luck”) files this Reply to Defendant Alpha Entertainment, LLC’s

(“Alpha”) Memorandum in Opposition to Plaintiff’s Request for Expedited Consideration of

Plaintiff’s Emergency Motion to Compel the Rule 30(b)(6) Deposition of Alpha [ECF 180]

(Alpha’s “Opposition”).

       In an effort to avoid responding tit-for-tat to the numerous allegations in Alpha’s

Opposition that are wholly irrelevant to the determination of whether good cause exists for

Plaintiff’s Emergency Motion to Compel to be considered on an expedited basis, Plaintiff will

consolidate his Reply with the following four points.

       First, Luck requests the Court require Alpha to respond to the Emergency Motion to

Compel Deposition of Alpha’s Representative(s) Pursuant to Federal Civil Procedure Rule

30(b)(6) [ECF 179] by May 21, 2021, which is fourteen (14) days after service of Plaintiff’s

Emergency Motion to Compel and eight (8) days after Defendant Vincent K. McMahon’s

deposition. ECF 180 at 4.

       Second, Luck only requests that Alpha present a Rule 30(b)(6) representative “with the


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most knowledge of the facts concerning, relating to or supporting” the thirty-four (34) topics. ECF

179-6 at 5 (emphasis added).

          Third, Alpha has not agreed to present any witness for a Rule 30(b)(6) deposition. Alpha

admits that it has refused to identify or present a witness on any of the thirty-four (34) Rule 30(b)(6)

topics.

          Fourth, Alpha has not agreed to present a witness on any of the thirty-four (34) topics

listed in the Rule 30(b)(6) deposition notice sent by Luck. ECF 179-6.

                                       I.     CONCLUSION

          Plaintiff respectfully requests that the Court order an expedited briefing schedule on this

matter and, thereafter, grant Plaintiff’s Motion to Compel Alpha to present a witness or witnesses

for depositions(s) under FRCP 30(b)(6) on the topics listed in ECF 179-6.



                                               Respectfully submitted,

                                               PLAINTIFF OLIVER LUCK

                                               /s/ Paul J. Dobrowski
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                                               Vanessa L. Pierce (phv10561)
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                                               AND

                                               /s/ Andrew M. Zeitlin
                                               Andrew M. Zeitlin (Fed. Bar No. ct21386)
                                               Joette Katz (Fed. Bar No. ct30935)

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                                CERTIFICATE OF SERVICE
         I hereby certify that on May 8, 2021, a copy of the foregoing was filed electronically and
served on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to
all parties by operation of the Court’s electronic filing system, or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF system.


                                             /s/ Paul J. Dobrowski




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